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                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
  RCH/SPN/HDM/CRH                                       271 Cadman Plaza East
  F. #2018R01309                                        Brooklyn, New York 11201

                                                        August 8, 2022

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al.
                         Criminal Docket No. 21-371 (S-1) (BMC)

  Dear Judge Cogan:

                  As the Court is aware, certain counsel (and potentially certain jurors) will have
  conflicts on multiple days of trial due to religious holidays. Under the present schedule, this will
  result in only two to three trial days every week of trial, except for the first week. If adjournments
  for religious observance are needed, the jury will sit on September 28 and 29 the second week of
  trial, on October 3 and 6 the third week of trial 1, and on October 11, 12 and 13 the fourth week of
  trial. Accordingly, the government writes to respectfully request that the Court hold trial on
  Fridays on weeks where there is otherwise a day off due to a conflict with these holidays. The
  government believes this will allow for a more efficient trial and appropriately reduces the already
  substantial time jurors are likely to have to sit for this case, particularly given that defendants
  advised on Friday that they may call as many as 26 specified witnesses as well as character
  witnesses that “will be identified before trial.” Specifically, the government requests that trial be
  conducted on the following Fridays:

         •   Friday, September 30
                 o Monday and Tuesday, September 26 and 27, adjourned due to Rosh Hashanah
         •   Friday, October 7
                 o Tuesday, October 4 (partial) and Wednesday, October 5 adjourned due to Yom
                     Kippur
         •   Friday, October 14
                 o Monday, October 10 adjourned due to Sukkot; October 10 is also a Court
                     holiday for Columbus Day.


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           The jury may be able to sit for part of October 4, depending on when individuals may
  need to leave in time to meet observational requirements for Yom Kippur.
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                  The government has communicated this proposal to defense counsel and requested
  information about their need to adjourn for any of these holidays. Mr. Lowell previously identified
  this conflict to the Court, and has advised the government that he requires adjournments on
  September 26 and 27, the second half of October 4, 2 October 5 and October 10. No other counsel
  for the defendants has provided the government with any information about similar conflicts. Mr.
  Lowell has indicated his objection to this proposal because he will be teaching a fall semester class
  at Columbia University that is scheduled for Fridays. The government appreciates the difficulty
  presented by this potential conflict but respectfully requests that Mr. Lowell move the class time
  or find someone to cover the three dates at issue given the significant interests at stake, including
  respect for jurors’ time and efficient adjudication of the case. Counsel for Mr. Barrack has to date
  declined to provide their position on the matter.

                 Accordingly, for the reasons discussed above, the government respectfully requests
  that the Court conduct trial days on certain Fridays – specifically, September 30, October 7 and
  October 14 – during weeks when other trial days are adjourned due to holiday.


                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

                                                By:       /s/
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                                                By:       /s/
                                                        Matthew J. McKenzie
                                                        Trial Attorney

  cc:    Counsel for Thomas Joseph Barrack (by ECF)
         Counsel for Matthew Grimes (by ECF)
         Clerk of the Court (BMC) (by ECF)


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          Mr. Lowell has advised that he may make arrangements to observe in New York, which
  would then only require that we end by 4PM at the latest on October 4.


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